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                                                                               FilED12 S~P ~ 1B i 0:21UKfJt}ORP
                                 UNITED SfATES DISTRICT COURT

                                             FOR THE DISTRICT OF OREGON


                                                                                   Date:   tJ9-09·-J0f8


I   lsaacky Gavrilovidt Sharipoff _




VS.                                                           COMPLAINT




1   Jason myers          (Sheriff)


    (SG1) Ramsey         (Deputy)

Sophie Polansky         (Deputy)


Whittaker                Q)guty)

C.Crites                (Deputy)


Velasquez1 or Dominick Crisafulli (Deputy)


                           Defendants.




    _ No lawsuils before in a State or Federal court The FACI'S involved relating imprisonment. YES fA

                                     Plaintiff

    -:- My address is : Jsaacky Gavrilovich Sharipoff -


                      Po. Box#Sl4

                     Woodburn I Oregon [970'71).
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   _ I was in JAIL MARION COUNTY Salem, Oregon. Start on Dec 1 , 2017 to Feb Tl, 2018.


   _ MARION COUNTY has prisoner grievance procedure, but the Documenis are extracied, stolen to

 enable Legal due process.

   _ I did present the FACIS relating to 1his complaint in the State JAIL, but NO help! . I received
nothing but more threats and all Affidavits I got been stolen. I did mention in a State court, but same
outcome.

  _ I had to wait until I got out and file a TORT CLAIM petition the Government for redress of
grievances.

  _ They def-aullai, because of gailt


    Defendants: Jason Myers employed as MARION COUNTY SHERIFF


  _ (SGT). Ramsey, Sophie Polonsky (depu1:f), Whittaker (depufy) , Velasquez or Dominick Crisafulli

(depufy) , C • Crites (deputy) .


                             et. al work for MARION COUNTY JAIL

                                            4000 Aumsville HWY SE


                                            Salem, Oregon [91317] •

  _ Deputies Whittaker, Velasquez, C .Crites and Sophie Polansky entered my Cell # C3-103 at
approximately 4.-00 AM, used bad words and ordered me to take my clothing off and to show them my

private parts of my body. Because I refused to do such mega1 shameful act in presence of others

womans officers..


  _ Whittaker said: fuck the fuckin Russian ( I was born .in Portland Oregon and my mom is American,

why descriminate me?) at this hour everyone is a sleep, 11 NO II evidence! of course wanton conscious
and intentional desire to do harm for satisfaclion without Legal justification, inflicting injury, damage,

pain and suffering including mental anguish and nightmares . Such evil spirit and venemous act which

make them conspire, descriminate, torture and motivate them.in such way in doing har.m to others




                                           PJ~2of3.
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who are helpless .


                                           -Relief-

  _ There MUSf be some relief, because I cannot move or do something without feeling pain. MUSf

be some compensation because there is tobtl negligence and deliberate indifference revealed and

exposed per the evidence they left and failed to rebut Affidavits ! , per their missuse and abuse of power

in order to enjoy other peoples injury, damage pain and suffering for their satisfaction and enjoyment,

they are liable .


  _ Why should't they answer for all they dope?.




I declare under penalty of perjury per 28 U.S.C.   §1746; (1)
Executedon:     OC/-OCf-JOf&
Signature:
